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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe             Store Name                                            Merchant ID
 464             heliangxin                                            572965d6f35bbb73ecfb203a
 466             heybaby                                               56299c833a698c45df7695ae
 514             maps                                                  5626049ba0c9c11189efeb12
 599             youlanmei                                             5a1bdaed0ec30f3693b53420



Dated: April 17, 2019
                                              Respectfully submitted,


                                              By:      s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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